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                         Exhibit 2
             Infringement Claim Chart for U.S. Pat. No. US8471812B2 Vs Shein Application by Road get Business Pte.
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                                                              Ltd.
        Claim 1                                                  Evidence

1.     A    method      for
identifying an object, the    A Shein Visual Search identifies objects by using a mobile camera.
method comprising:




                              Source: [Link]
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                              Source: [Link]



(a) providing a pointing      The Shein Visual Search provides a pointing and identification device for pointing at the object, where
and identification device     the PID includes a phone camera and a square reticle.
for pointing at the object,
the pointing and
identification device
comprising:
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      Source: [Link]
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                           Source: [Link]
at least one actuation     In Shein Visual Search, the user taps on the screen as an actuation means for object identification
means for actuation by     when the user points the pointing and identification device at the object. The pointing and
the user when the user     identification devices include a phone camera and a square reticle.
points the pointing and
identification device at
the object;
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      Source: [Link]
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                             Source: [Link]



a digital camera for         The Shein application uses a digital phone camera to form a digital image of the pointed object when
forming a digital image of
                             the user points at it. Tapping on the click button is the actuation means.
the object or of a portion
of the object when the
user points the pointing
and identification device
at the object and
actuates the at least one
actuation means; and
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      Source: [Link]
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      Source: [Link]
Case 2:24-cv-00189-JRG   Document 1-2   Filed 03/16/24   Page 12 of 23 PageID #: 55




      Source: [Link]
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                            Source: [Link]


a communication device      The Shein application is installed on the mobile phone. The application takes and identifies
for communicating the       photos of any stores and finds similar images in the Shein endless catalogue or Shein
digital   image   to    a
different location when
                            database.
the user actuates the at
least    one    actuation
means;
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      Source: [Link]




      Source: [Link]
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      Source: [Link]
                  Case 2:24-cv-00189-JRG        Document 1-2    Filed 03/16/24   Page 16 of 23 PageID #: 59
(b) communicating     the   The Shein application takes and identifies photos of any store and finds similar images in the Shein
digital image to      the   endless catalogue or database.
different location;




                            Source: [Link]




                            Source: [Link]
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(c)          automatically
identifying a list of likely   The Shein application automatically identifies a list of likely pointed-to objects when the user aims at
pointed-to objects from
                               the product. The user takes photos of other store items, such as Zara and H&M, and then the
the digital image at the
different    location     to   application identifies and returns similar things from the Shein endless catalogue database.
return the list of likely
pointed-to objects and




                               Source: [Link]
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      Source: [Link]




      Source: [Link]
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                            Source: [Link]



(d) returning the list of   The Shein application returns a list of likely pointed-to objects to select one of the likely pointed-to
likely pointed-to objects   objects, where the pointed-to object is a dress.
to the user to select one
of the likely pointed-to
objects;

                                                                                                         Returns list
                                                                                                         of likely
                                                                                                         pointed-to
                                                                                                         objects




                                                                                                                        Return the
                                                                                                                        list of likely
                                                                                                                        pointed-to
                                                                                                                        objects




                            Source: [Link]
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      Source: [Link]
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wherein the object is at
least one of a spot on a       The Shein application identifies the objects within the space, where the object is, in this case, a shirt.
displayed image on a
                               The Shein application identifies a particular object from multiple objects in the displayed image. The
display, a subarea of a
space on the displayed         multiple objects in the displayed image are a shirt, a pent, shoes, and a bracelet.
image on the display, one
of a plurality of objects in
the displayed image on
the display, an object in
space, or near an object
in space, a subarea of a
surface in space, or one
of a plurality of objects in
space.




                               Source: [Link]
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      Source: [Link]
